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FORM TO BE USED BY A PRISONER FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. §1983 4 ene

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SIQIEN WAYNE WaRets ~ dG

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S50 Fash Madison dSkoeel
Datvimrace  Meuculund BVAn3

(Full name, prison identification
number and address of the plaintiff)

V. ‘Civil Action No. RIM-07 "sd DW

(Leave blank. To be filled in by Court,
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OD Nock Merhante Stregt
W mbbor igad ia mand AWA
(Full name and address of the defetidant(s))

COMPLAINT
I. Previous lawsuits

A. Have you filed other cases in state or federal court dealing with the same facts as in this
case or against the same defendants?

YES[ ] NO [\]

B. If you answered YES, describe that case(s) in the spaces below.
1. Parties to the other case(s):
Plaintiff:

 

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Defendant(s):

2 Court (if a federal court name the district; if a state court name the city or
county):

3. Case No.:

4, Date filed:

 

5. Name of judge that handled the case:

 

6. Disposition (won, dismissed, still pending, on appeal):

 

ds Date of disposition:

 

Il. Administrative proceedings

A. If you are in a Division of Correction facility, did you file an administrative remedy
procedure request under DCD 185-001, et seq.?

YES[ ] NO]
1. If you answered YES:

a. What was the result?

 

 

b. Did you appeal to the Commissioner?
YES[ ]  NO[X]

2. If you answered NO to either of the questions above, explain why you did not file
an administrative remedy procedure request or an appeal to the

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Commissioner, BEC GuiSe Wat 9 Gq 10S Gn indivi dua)

 

 

 

3. Did you file any other type of administrative complaint such as an appeal to the
warden of an adjustment decision or a decision to withhold mail, a complaint to the
Sundry Claims Board, etc.?

YES{ ] NON]

4, If you answered YES, explain what you filed and what was the result.

 

 

 

B. If you are not in a Division of Correction facility, is there a grievance procedure at your
institution?

YES[ ] NO[ ]
If your answer is YES:
1. Did you file a gnevance?
YES[ J NO[ ]

2 If you filed a grievance what was the result?

 

 

3. If you did not file a grievance explain why not?

 

 

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III. Statement of claim

(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim in a separate paragraph.)

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IV. Relief
(State briefly what you want the Court to do for you)

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SIGNED THIS WO" day of Qu )ou9% AON

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(original signature of plaintiff)

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(address of plaintiff)

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